                               TRUSTEE'S CONFIRMATION REPORT – 5/31/19

      DEBTOR: Jacob P LoTurco                                 CASE NO.: 19-20083-PRW
      ATTORNEY: David H Ealy, Esq.                            ATTORNEY FEES:            $ 5195
                                                              Additional Attorney Fees: $
                                                              Fees in Plan: $ 3600
l.    TRUSTEE RECOMMENDATION:            ______ Plan Recommended       ___X_ _ Plan Not Recommended

ll.   PLAN FILED DATE:      3/22/19 (ECF BK No. 39 )
      A.    PAYMENTS:                      $600        per month voluntarily

      B.      REPAYMENT:
              To secured creditors         $ 12,099        with interest $ 13,945
              To priority creditors        $ 10,314
              To unsecured creditors       $ 8,141         est. 3 %
              General unsecured debt       $290,004
              Duration of Plan                 5           years
              Total Scheduled Debt         $419,947        incl. mortgages

      C.      FEASIBILITY:
              Monthly Income               $5000           (net) $5000    (gross)
              Less Estimated Expenses      $4399
              Excess for Wage Plan         $ 601

      D.     OBJECTIONS to Confirmation: 1) Mr. LoTurco must cure the Court
             deficiency at ECF Docket No. 34
             2) Mr. LoTurco has not completed the tasklist. He has not amended
             Schedule I and SOFA 27.
             3) Mr. LoTurco’s equity in the PLLC is valued at zero based upon
             the debts that are owed against the value of the PLLC. Since these
             debts are being used to offset the equity in the PLLC, the plan
             should classify the PLLC debts for payment directly by the PLLC. If
             the PLLC is not going to assume all of these debts, then the gross
             value of the PLLC must be included for payment through the
             Chapter 13 plan. It is noted that upon information and belief Mr.
             LoTurco does not intend to dissolve the PLLC.

      E.      Other comments:
              _ need certification of post petition DSO payments.
                  other:

III.    TREATMENT OF SECURED CLAIMS/LEASE ARREARS:
Creditor           Amt of Claim      Security Claimed           Perfected      Plan Treatment Monthly Pymt
Fairport Savings   No claim          Mortgage                     Yes             Direct
Carmax             $12,099.30        ’11 Audi                     Yes             Full + 5¾%    $253.82
A Schwartz         $20,380.00        CO LLC assets                Yes             Direct by LLC


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IV.   SPECIAL PLAN PROVISIONS:

      A.     CLASSIFICATION of unsecured creditors: Not applicable
                  Class 1:                              % $
                  Class 2:                               % $
                  Class 3                                % $

      B.     Rejection of executory contracts:

      C.      Other Plan Provisions:


V.    BEST INTEREST TEST:
      A.     All assets were listed.
      B.     Total market value of assets:                          $114,857
                     Less valid liens                     $100,209
                     Less exempt property                 $ 13,239
                     (Available for judgment liens )
                     Subtotal                             $ 1,409
                     Less est. Chapter 7 fees             $ 352
      C.     Total available in liquidation                        $ 1,057
      D.     Best interests including present value                $ 1,229
                     Less priority claims                          $10,314
                     (Support $                )
      E.     Amount due to unsecured                               $0
      F.     Amount to be distributed to unsecured creditors       $ 8,141

      G.      Nature of major non-exempt assets:


VI.   OTHER:
      A.     Debtor(s) states that the plan is proposed in good faith with intent to comply with the law.
      B.      Debtor(s) states that to the best of its knowledge there are no circumstances that would
              affect the ability to make the payments under the plan.
      C.      (If a business) The Trustee has investigated matters before him relative to the condition of debtor's
              business, and has not discovered any actionable causes concerning fraud, dishonesty,
              incompetence, misconduct, mismanagement or irregularities in managing said business.
      D.      Debtor requests no wage order because: _____ disability or retirement, _____ self employed,
                                                           _____ risk of job loss, _____ other
      E.      Converted from Chapter 7 because: Non Applicable.


                                                                            /S/_____________________________
                                                                              GEORGE M. REIBER, TRUSTEE




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